Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 1 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

 

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TOI (Name and address of Defendant)
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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within 20 days after service

of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

 

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 2 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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TOI (Name and address of Defendant)

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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

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Clerk of this Court within a reasonable period of time after service.

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 3 of 21

*QAO 440 (Rev_ 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

 

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YOU ARE HEREBY SUMMONED and required to Serve on PLAINTIFF’S ATTORNEY (name and address)

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 4 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DiStriCt of NEW YORK

 

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TOI (Name and address of Defendant)
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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within 0 days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
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Clerk of this Court within a reasonable period of time after service.

 

 

 

Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 5 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 6 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

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an answer to the complaint which is served on you with this summons, within days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
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Clerk of this Court within a reasonable period of time after service.

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 7 of 21

§AO 440 (Rev. 8/0]) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

 

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TOZ (Name and address of Defendant)

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an answer to the complaint which is served on you with this summons, Within 0 days after service
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Clerk of this Court within a reasonable period of time after service.

   

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(By) DM)TVCLERK

 

Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 8 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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YOU ARE HEREBY SUMMONED and required to Serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, Within go days after service

of this summons on you, exclusive of the day of service. lf you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court Within a reasonable period of time after Service.

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§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District Of NEW YORK

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TOI (Name and address of Defendant)
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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within 50 days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

 

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 10 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Actio‘n

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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TOI (Name and address of Defendant)

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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTGRNEY (name and address)

an answer to the complaint Which is served on you with this summons, within 30 days after service
Of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

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(By) ip,EPu7Y CLERK

 

Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 11 of 21

§AO 440 (Rev_ 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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TOZ (Name and address of Defendant)

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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within §Z§§ days after service

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Clerk of this Court within a reasonable period of time after service.

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§AO 440 (Rev, 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

NORTHERN District Of NEW YORK
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TOI (Name and address of Defendant)
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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, Within &D days after service

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for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court Within a reasonable period of time after service

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 13 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT CGURT

NORTHERN District of ' NEW YORK

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an answer to the complaint which is served on you with this summons, within 52 0 days after service
Of this summons on you, exclusive of the day of service. lf you fail to do so, judgment by default will be taken against you
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Clerk of this Court within a reasonable period of time after service

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(By) DEPUTY CLERK

 

Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 14 of 21

§AO 440 (Rev_ 8/0]) Summons in a Civil Action

UNl[TED STATES DISTRICT COURT

NORTHERN District Of NEW YORK

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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within ;/1_\0 jb) days after service
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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 15 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

 

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TOZ (Name and address of Defendant)

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an answer to the complaint which is served on you with this summons, within 3\0 days after service

of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you

for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
v Clerk of this Court within a reasonable period of time after service.

    
    

 

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 16 of 21

§AO 440 (Rev_ 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District Of NEW YORK

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YOU ARE HEREBY SUMMONED and required to Serve on PLAINTIFF’S ATTORNEY (name and address)

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§AO 440 (Rev_ 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

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an answer to the complaint which is served on you with this summons, within 530 days after service

of this summons on you, exclusive of the day of service If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
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§AO 440 (Rev. 8/Ol) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

NORTHERN District of NEW YORK

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TOZ (Name and address of Defendant)
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Clerk of this Court within a reasonable period of time after service.

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 19 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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TOI (Name and address of Defendant)

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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

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Clerk of this Court Within a reasonable period of time after service

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Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 20 of 21

Q.AO 440 (Rcv. S/Ol) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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TO: (Name and address dr Defendam)
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YOU ARE HEREBY SUMMONED and required to Serve on PLAlNTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within 0 days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

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(By) DEPUVY CLERK

Case 5:07-cv-01108-DNH-G.]D Document 11 Filed 02/15/08 Page 21 of 21

§AO 440 (Rev. 8/01) Summons in a Civil Action

UN`ITED STATES DISTRICT COURT

NORTHERN District of NEW YORK

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SUMMONS IN A CIVIL ACTION

V.
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- lw\l ‘Y'W*Si’°*‘i?l'i"e“ y CAsE NUMBER;

b MS,W:@@W\ 07 -Cv- 1103

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TOI (Name and address of Defendant)

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YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

an answer to the complaint which is served on you with this summons, within c days after service
of this summons on you, exclusive of the day of service. lf you fail to do so, judgment by default will be taken against you
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